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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,

             vs.

JUSTIN LEE SLOOTHAAK,
     a/k/a “klamathsallsor,”
     a/k/a “klamath_falls_frequently,”
                                                                INDICTMENT
                  Defendant.
_________________________________/

      The Grand Jury charges:
                                       COUNT 1
                             (Sexual Exploitation of a Child)

      Between on or about June 3, 2022 and on or about August 13, 2022, in Kent and

Ottawa Counties, in the Southern Division of the Western District of Michigan, the

defendant,

                              JUSTIN LEE SLOOTHAAK,
                                a/k/a “klamathsallsor,”
                           a/k/a “klamath_falls_frequently,”

knowingly employed, used, persuaded, induced, enticed, and coerced a minor to engage

in sexually explicit conduct, for the purpose of producing visual depictions of such

conduct, and the visual depictions were produced using materials that had been mailed,

shipped, and transported in and affecting interstate and foreign commerce.

      Specifically, the defendant employed, used, persuaded, induced, enticed, and

coerced Victim 1, who was approximately 14 years old, to engage in sexually explicit
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conduct, including sexual intercourse. The defendant produced videos and images which

depicted the sexually explicit conduct. The defendant produced the videos and images

using a Samsung S21 smartphone which had been mailed, shipped, and transported in

and affecting interstate and foreign commerce.

18 U.S.C. § 2251(a) and (e)
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                                      COUNT 2
                         (Coercion and Enticement of a Minor)
      Between on or about June 3, 2022 and on or about August 13, 2022, in Kent and

Ottawa Counties, in the Southern Division of the Western District of Michigan, the

defendant,

                             JUSTIN LEE SLOOTHAAK,
                               a/k/a “klamathsallsor,”
                          a/k/a “klamath_falls_frequently,”

used facilities and means of interstate and foreign commerce to communicate with an

individual in order to knowingly persuade, induce, entice, and coerce an individual who

was under the age of 18 years to engage in sexual activity for which any person could be

charged with a criminal offense.

      Specifically, defendant used the internet and a cellular communications network

to persuade, induce, entice, and coerce Victim 1, a female who he knew to be under 16

years of age, to engage in sexual penetration with him, for which he could be charged

with Third Degree Criminal Sexual Conduct, in violation of Michigan Compiled Laws §

750.520d(1)(a).

18 U.S.C. § 2422(b)
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                                      COUNT 3
           (Possession of Child Pornography Involving Prepubescent Minors)

        Between on or about June 3, 2022 and on or about August 13, 2022, in Ottawa

County, in the Southern Division of the Western District of Michigan, the defendant,

                              JUSTIN LEE SLOOTHAAK,
                                a/k/a “klamathsallsor,”
                           a/k/a “klamath_falls_frequently,”

knowingly possessed images of child pornography that involved prepubescent minors,

including, but not limited to, one or more of the images and videos listed below:

   1.      Gracel dogstyle;
   2.      Gracel Series - Rona 9 yo fuck the pussy – part 2;
   3.      Gracel Series – Rona 9 yo fuck the pussy – part 3;
   4.      174;
   5.      264;
   6.      266; and
   7.      294.

Such images were produced using materials which had been shipped and transported in

interstate and foreign commerce, including, but not limited to, a Samsung S7 tablet and

a Samsung S21 cellular telephone.

18 U.S.C. § 2252A(a)(5)(B) and (b)(2)
18 U.S.C. § 2256(8)(A)
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                                          COUNT 4
                          (Penalties for Registered Sex Offenders)

       Between on or about June 3, 2022 and on or about August 13, 2022, in Ottawa

County, in the Southern Division of the Western District of Michigan, the defendant,

                                JUSTIN LEE SLOOTHAAK,
                                  a/k/a “klamathsallsor,”
                             a/k/a “klamath_falls_frequently,”

an individual required by Michigan law to register as a sex offender, committed one or more

felony offenses involving a minor under Title 18, United States Code, Section 2422 and Title 18,

United States Code, Section 2251.

18 U.S.C. ' 2260A
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                              FORFEITURE ALLEGATION
                             (Sexual Exploitation of a Minor)
            (Possession of Child Pornography Involving Prepubescent Minors)

       The allegations contained in Counts 1 and 3 of this Indictment are hereby realleged

and incorporated by reference for the purpose of alleging forfeiture pursuant to 18 U.S.C.

§ 2253.

       Pursuant to 18 U.S.C. § 2253, upon conviction of the offense(s) in violation of 18

U.S.C. §§ 2251 and/or 2252A, the defendant,

                               JUSTIN LEE SLOOTHAAK,
                                 a/k/a “klamathsallsor,”
                            a/k/a “klamath_salls_frequently,”

shall forfeit to the United States of America any visual depiction described in 18 U.S.C. §

2252A; any matter which contains any such visual depiction that was produced,

transported, mailed, shipped, or received in violation of Title 18, United States Code,

Chapter 110; any property, real or personal, constituting or traceable to gross profits or

other proceeds obtained from the offense(s); and any property, real or personal, used or

intended to be used to commit or to promote the commission of the offense(s) or any

property traceable to such property. The property to be forfeited, as to all counts,

includes, but is not limited to, the following:

       1.      A Samsung S7 tablet, and
       2.      A Samsung S21 cellular telephone

       If any of the property described above, as a result of any act or omission of the

defendant:

            a. cannot be located upon the exercise of due diligence;
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          b. has been transferred or sold to, or deposited with, a third party;

          c. has been placed beyond the jurisdiction of the court;

          d. has been substantially diminished in value; or

          e. has been commingled with other property which cannot be divided
             without difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant

to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 2253(b) and by 28 U.S.C. § 2461(c).

18 U.S.C. § 2253
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)
18 U.S.C. § 2251
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                          PRIOR FELONY CONVICTIONS

      The Grand Jury finds that at the time of the illegal acts alleged in Counts 1 through

4, the defendant, JUSTIN LEE SLOOTHAAK, had prior convictions under the laws of any

state relating to sexual abuse or abusive sexual conduct involving a minor.

      1. Specifically, on October 31, 2016, JUSTIN LEE SLOOTHAAK, in Allegan

County, Michigan, in the 48th Circuit Court (case number 15-019612-FH-K) was

convicted of Children-Accosting for Immoral Purposes (Count 2) in violation of Mich.

Comp. Laws § 750.145a.

      2. Specifically, on October 31, 2016, JUSTIN LEE SLOOTHAAK, in Allegan

County, Michigan, in the 48th Circuit Court (case number 15-019612-FH-K) was

convicted of Criminal Sexual Conduct in the Second Degree (Count 3) in violation of

Mich. Comp. Laws § 750.520c.

18 U.S.C. § 2251(e)
18 U.S.C. § 2247


                                         A TRUE BILL

                                         __________________________________________
                                         GRAND JURY FOREPERSON
MARK A. TOTTEN
United States Attorney


___________________________________
AUSTIN J. HAKES
Assistant United States Attorney
